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lN THE UNITED STATES DlSTR|CT COURT _ 53
FOR THE WESTERN DISTR|CT OF TENNESSEE l . mi 2\* M\ '“.
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JOHN T. HALL, X No. 04-3034-DlAn
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PLAlNTlF X
vs. `X g 3 g
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MEMPH|S CITY SCHOOLS, X §;‘E-* §§ w
DEFENDANT. § ,;i_;€: <=> '
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MOTlON TO DlSMlSS W|THOUT PREJUDICE
- Now. comes the plaintiff, John T. i-lall in the above action before the Cour't requesting the
following action in the above matter as follows:
o The plaintiff in the above action at this point feels that due to financial obligations above
and beyond his control he cannot proceed in the above action at this time.
o The plaintiff feels that by proceeding forward at this time he would be placed at a severe
disadvantage without proper legal representation and advice as to how to proceed.
» The plaintiff further contends that it would be in his best interest to withdraw his complaint.
» The plaintiff respectfully prays that the Court will grant his motion to dismiss his complaint
without prejudice and be allowed to refile his complaint within the time allowed by statue
within the Court.
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Notice of Distribution

This notice confirms a copy cf the document docketed as number 12 in
case 2:04-CV-03034 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

John T. Hall
2024 Lakefront Dr. # 101
Collierville, TN 3 8017

Honorable Bernice Donald
US DISTRICT COURT

